Case 19-26193-LMI Doc119 Filed 02/08/24 Pagei1iof8

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Debtor1 Jazmina Davila
aka Jasmina Davila
aka Jasmina J Davila
aka Yasmina Davila
aka Jasmine Davila

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the SOUTHERN District of FLORIDA

Case number 19-26193

Official Form 410S$1
Notice of Mortgage Payment Change 12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: DEUTSCHE BANK NATIONAL TRUST Court claim no. (if known): 1-4
COMPANY, AS TRUSTEE FOR SOUNDVIEW HOME LOAN
TRUST 2008-1, ASSET-BACKED CERTIFICATES, SERIES

2008-1
Last 4 digits of any number you use to Date of payment change: 3/1/2024
identify the debtor’s account: 1900 Must be at least 21 days after date

of this notice

New total payment: $927.86
Principal, interest, and escrow, if any

Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

a No.
a Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

Current escrow payment: $344.72 New escrow payment: $414.79

Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?

mu No

a Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
explain why:

Current interest rate: New interest rate:

Current principal and interest payment: New principal and interest payment:

Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

a No
a Yes Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change:
Current mortgage payment New mortgage payment:

Official Form 41031 Notice of Mortgage Payment Change page 1
Case 19-26193-LMI Doc119 Filed 02/08/24 Page 2of8

Debtor 1 Jazmina Davila Case number (if known) 19-26193

Print Name Middle Name Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

O | am the creditor

m | am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.

F ar 2024
ge /s/ Can Guner Date ebruary 7,
Signature
Print Can Guner Title Authorized Agent for Creditor
First Name Middle Name Last Name

Company Robertson, Anschutz, Schneid, Crane & Partners, PLLC

Address 6409 Congress Avenue, Suite 100

Number Street

Boca Raton FL 33487
City State ZIP Code

Contact Phone 470-321-7112 Email cguner@raslg.com

Current escrow not matching

“The ‘current escrow payment’ in the attached Escrow Statement will not match the previously filed NOPC or POC as this escrow
payment is based off the contractual due date. The current escrow payment included in this Notice of Payment Change is based off
the previously filed court record. This will not have any impact on the borrower.”

Missed NOPC

“This notice of payment change is being filed in the interest of completeness in the court record. In order to comply in good faith
with FRBP 3002.1(b), and to compensate the Debtor for the missed filed Payment Change Notice, the Debtor shall receive the
benefit of the decrease and any differences in payments submitted shall be credited towards debtor’s payoff. Upon the new
effective date debtor or the estate shall be solely responsible for the entire new payment amount until further adjustment”

Official Form 41031 Notice of Mortgage Payment Change page 2
Case 19-26193-LMI Doc119 Filed 02/08/24 Page 3of8

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on___ February,8,2024 , lelectronically filed the

foregoing with the Clerk of Court using the CM/ECF system, and a truc and correct copy has been served via
United States Mail to the following:

Jazmina Davila
1176 W 37th Terrace
Hialeah, FL 33012-4138

And via electronic mail to:

Jose A Blanco

Jose A. Blanco, P.A.
102 E 49th ST
Hialeah, FL 33013

Nancy K. Neidich
www.chl3miami.com
POB 279806
Miramar, FL 33027

Office of the US Trustec
518S.W. Ist Ave.

Suite 1204
Miami, FL 33130

By: /s/ Benjamin Sakyi

Official Form 41031 Notice of Mortgage Payment Change page 3
Case 19-26193-LMI Doc119 Filed 02/08/24 Page 4of8

PHH Mortgage Services
PO Box 24738
West Palm Beach, FL 33416

Account Number: aa

ee
JOSE A BLANCO
102 E 49TH ST
HIALEAH, FL 33013 0000

December 18, 2023

We have been notified you are representing the borrower or accountholder listed on the
following document. Accordingly, the enclosed correspondence is being directed to you.
Please provide this correspondence to your client as you deem appropriate.
Case 19-26193-LMI Doc119 Filed 02/08/24 Page 5of8

PHH Mortgage Services
PO Box 24738
West Palm Beach, FL 33416

Loan number: a

Questions?

Visit us at
www. MortgageQuestions.com
ee Call toll free 1-877-744-2506
JASMINA DAVILA Fax 1-856-917-8300
EDDIE DAVILA
UNIT 12
1176 W 37TH TER
HIALEAH, FL 33012-4138

Off-Scheduled Escrow Statement Dated: December 18, 2023

Why am | getting this statement?

In accordance with federal guidelines your escrow account is reviewed at least one time per year; however, certain circumstances
may require an additional review. This statement is a result of that review known as an escrow analysis statement, which determines
if sufficient funds are available to pay your taxes and/or insurance. This statement is a projection of your escrow account and may
also include a history of the escrow activity on your loan since the time you last received an escrow analysis statement.

What does this mean to me?

Because your escrow account is projected to have less money than is needed, there is a shortage of $4,078.95.

The monthly shortage for the next 60 months is $67.98 and will automatically be added to your monthly payment beginning
February 2024. Your new monthly payment for February 2024 will be $927.86.

What is a shortage?

A shortage is the difference between the anticipated escrow balance and the required escrow balance at the beginning of the
analysis cycle. A shortage typically results from changes in taxes and/or insurance. Please refer to the enclosed FAQ for additional
information.

Anticipated escrow account balance (as of January 31, 2024): -$ 2,691.69
Required escrow account balance (as of January 31, 2024 ): $1,387.26
Difference resulting in an escrow account shortage: $4,078.95

What is my new monthly payment?

The following table reflects your current monthly payment and new monthly payment:
Current Payment New Payment with Shortage

Principal & Interest $513.07 $513.07
Escrow Deposit $291.40 $346.81
Escrow Shortage $67.98
Total Payment $804.47 $927.86

if your payment is issued by a third party, or if you make payments through a bill pay service, then please make sure
your new total monthly payment amount is updated with your service provider.

See reverse >
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose. However, if the debt is in
active bankruptcy or has been discharged through bankruptcy, this communication is provided purely for informational purposes only with regard to our
secured lien on the above referenced property. It is not intended as an attempt to collect a debt from you personally. As may be required by state law, you
are hereby notified that a negative credit report reflecting on an accountholder's credit record may be submitted to a credit reporting agency if credit
obligation terms are not fulfilled.
Page 2 of 5

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Case 19-26193-LMI Doc119 Filed 02/08/24 Page 6of8

Payment Change Breakdown

Below are the escrow items we anticipate collecting for and paying on your behalf over the next 12 months. To calculate your new
monthly escrow payment of $346.81, we added up the actual or estimated tax and insurance payments for the next 12 months
beginning with the February 2024 payment and divided the total by 12. Included for the comparison are the Annual Payments we
projected to pay during the last analysis cycle, as displayed in detail in the history portion of the escrow analysis staternent.

Description Current Annual Payment Projected Annual Payment
Taxes $3,718.41 $4,161.74
TOTAL $3,718.41 $4,161.74

Prior Year Account History and Coming Year Projections

This statement itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure and
projects payments, disbursements and balances for the coming year. The projections from your previous escrow analysis are included with
the actual payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you can
determine where a difference may have occurred. When applicable, the letter "E" beside an amount indicates that all or a portion of a payment or
disbursement on that row has not yet occurred but is estimated to occur as shown. An asterisk (*) beside an amount indicates a difference from
projected activity either in the amount or date.

Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year. Under Federal Law
(RESPA) the lowest monthly balance in your escrow account should be no less than $693.62 or 1/6th of the total annual projected disbursement
from your escrow account, unless your mortgage decuments or state law specifies otherwise.

Your projected anticipated lowest account balance of $3,385.33- will be reached in November 2024. When subtracted from your minimum
required balance of $693.62, an Escrow Shortage results in the amount of $4,078.95. These amounts are indicated with LP. You will receive an
Annual Escrow Account Disclosure Statement reflecting the actual disbursements at the end of the next escrow analysis cycle. However, you
should keep this statement for your own records for comparison. If you have any questions about this statement, please call our Customer Service
Department toll free at 1-877-744-2506.

Ml Escrow account projections for the coming year

paid into your paid out of your Anticipated escrow Required escrow

Date Description escrow account ($) escrow account ($) account balance ($) account balance ($)
Opening balance - 2,691.69 1,387.26
Feb 2024 346.81 -2,344.88 1,734.07
Mar 2024 346.81 -1,998.07 2,080.88
Apr 2024 346.81 -1,651.26 2,427.69
May 2024 346.81 -1,304.45 2,774.50
Jun 2024 346.81 -957.64 3,121.31
du 2024 346.81 -610.83 3,468.12
Aug 2024 346.81 -264.02 3,814.93
Sep 2024 346.81 82.79 4,161.74
Oct 2024 346.81 429.60 4,508.55

Nov 2024 COUNTY TAX 346.81 4,161.74 -3,385,.33 693.62 LP

Continued on next page

Page 3 of 5

Case 19-26193-LMI Doc119 Filed 02/08/24 Page 7of8

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PHH Mortgage Services
PO Box 24738
West Palm Beach, FL 33416
Off-Scheduled Escrow Statement (continued) Loan number
December 18, 2023 Questions?
Visit us at

JASMINA DAVILA

www. MortgageQuestions.com

EDDIE DAVILA
UNIT 12 Call toll free 1-877-744-2506
1176 W 37TH TER Fax 1-856-917-8300

HIALEAH, FL 33012-4138

Ml Escrow account projections for the coming year (continued)

paid into your paid out of your Anticipated escrow Required escrow
Date Description escrow account ($} escrow ($) account balance ($)
Dec 2024 346.81 -3,038.52 1,040.43
Jan 2025 346.81 -2,691.71 1,887.24
Total $4,161.72 $4,161.74

LP - indicates your required escrow lowest balance

MM Prior year account History

Amounts paid into Amounts paid out of Escrow account
your escrow account your escrow account balance
Date Description Anticipated ($) Actual ($) Anticipated ($) Actual ($) Anticipated ($} Actual ($)
Opening balance 1,549.32 -7,795.43
Mar 2023 309.87 291 .40* 1,859.19 -7,504.03
Apr 2023 309.87 * 2,169.06 -7,504.03
May 2023 309.87 * 2,478.93 -7,504.03
dun 2023 309.87 291.40* 2,788.80 -7,212.63
du 2023 309.87 * 3,098.67 -7,212.63
Aug 2023 309.87 * 3,408.54 -7,212.63
Sep 2023 309.87 * 3,718.41 -7,212.63
Oct 2023 309.87 * 4,028.28 -7,212.63
Nov 2023 COUNTY TAX 309.87 * 3,718.41 4,161.74* 619.74 -11,374.37
Dec 2023 309.87 8,337.96E E 929.61 -3,036.41
dan 2024 309.87 344.72E E 1,239.48 -2,691 .69
Feb 2024 309.87 * 1,549.35
Total 3,718.44 9,265.48 3,718.41 4,161.74

Page 4 of 5
Case 19-26193-LMI Doc119 Filed 02/08/24 Page 8of8
a 2 s PHH Mortgage Services
PO Box 24738

MORTGAGE

West Palm Beach, FL 33416

ESCROW ANALYSIS BORROWER GUIDE
FREQUENTLY ASKED QUESTIONS (FAQ)

The Real Estate Settlement Procedures Act, “RESPA”, requires
servicers perform an escrow analysis at least one time annually.
Any increase or decrease to your annual property taxes and/or
insurance premiums may cause the mortgage payment amount
to change. We provide details of the annual analysis in the
Escrow Account Statement. The statement details the most
recent escrow review. You may receive more than one analysis in
the year. There are a number of reasons for an interim escrow
analysis. The most common reasons are:

® The loan was acquired from another servicer.

* A material change to insurance or tax amounts due.

® Changes which occur after closing.

® Change in Tax or Insurance due dates.

The required beginning escrow balance is made up of a cushion
plus any prorated taxes and/or insurance needed to fulfill the
anticipated disbursements for the next 12 months.

The monthly escrow payment is comprised of 1/12th of all
anticipated annual disbursements. If there is an increase or
decrease in the annual tax and/or insurance amounts the monthly
escrow collection will change. Please refer to the escrow analysis
for a more detailed explanation of the disbursement amounts.

An escrow cushion is the amount of money set aside in the
escrow account to cover any unanticipated costs such as an
increase in property taxes or insurance premiums and prevents
the escrow balance from being overdrawn. An escrow cushion is
neld unless the mortgage documents or state law directs
otherwise.

If the escrow analysis resulted in an escrow surplus greater than
$50.00 and the account is not more than 30 days past due (per
RESPA, current is defined as the servicer receiving the borrower’s
payments within 30 days of the payment due date), has not been
referred to foreclosure, and the account is not in bankruptcy at
the time the escrow analysis is performed, an escrow refund
check will either be included with the escrow analysis statement
or sent under separate cover within 30 business days. Any
surplus under $50.00 will be adjusted from the monthly escrow
payment.

Please contact customer service to request a review of the loan
for escrow waiver eligibility. Please be advised that investor
requirements may not allow the escrow account termination.

We list all possible disbursements or expenses such as property
taxes or insurance premiums to be paid on your behalf for the
next 12 months. We take the total and divide the amount by 12
payments. Total anticipated disbursements divided by 12
payments equals the Monthly Escrow Payment. Due to changes
in property taxes or insurance premiums, it is possible the escrow
account could end up with a balance which is less than the target
cushion amount. This is referred to as a “Shortage”. Any shortage

of funds in the escrow account will be determined at the time of
the escrow analysis. Additionally, it is possible the escrow
account could end up with a balance which is greater than the
required cushion amount. This is referred to as a “Surplus”.

You may direct a deposit of any amount solely to the escrow
account using our pay by phone service, or Website. There may
be fees associated with these payment services. You may also
send in additional funds to escrow by mail. If by mail, then be
sure to write the loan number on your check, specify “ESCROW
application” on the memo line and mail to:

P.O. Box 371867

Pittsburgh, PA 15250-7867

Overnight mail: Attn: 37186

500 Ross Street 154-0470

Pittsburgh, PA 15250.

Once the escrow funds are received, the monthly escrow
payment will be adjusted within 10 business days of posting.

Please be advised, if the escrow analysis discloses a shortage
greater than one month’s escrow payment, PHH cannot and
does not require repayment of this amount and, instead, PHH has
spread any shortage across the monthly escrow payments.

Write the loan number on the correspondence and send it to us
as follows:

PHH Mortgage Servicing

Attn: Tax Department

P.O. Box 24665

West Palm Beach FL 33416-4665

Fax 562-682-8880

Email: KanaTax@mortgagefamily.com

Please contact Assurant toll free 888-882-1815 Monday through
Friday 8:00am - 9:00pm ET and Saturday 8:00am - 5:00pm ET.

Insurance policy information can be faxed to 937-525-4210 or
uploaded to MyCoverage Website at
mycoverageinfo.com/mortgagefamily or send via email to
MortgageFamily@MyCoverageinfo.com. If you have any questions
regarding your insurance policy information, please contact our
Insurance customer care directly for further assistance at
888-882-1855, Monday through Friday, 8:00am - 9:00pm ET and
Saturday 8:00am - 5:00pm ET.

Write your loan number on the correspondence and send it to us
as follows:

PHH Mortgage Servicing

Attn: Tax Department

P.O. Box 24665

West Palm Beach FL 33416-4665

Fax 561-682-8880

Email: Proofoftaxpayments@mortgagefamily.com

To obtain additional information about the account, visit www.MortgageQuestions.com

Page 5 of 5
